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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

TRAVELERS CASUALTY INSURANCE         §
COMPANY OF AMERICA                   §
                                     §
       PLAINTIFF,                    §
                                     §
vs.                                  §   CIVIL ACTION NO. 5:20-cv-040
                                     §
MEDITERRANEAN GRILL & KABOB          §
INC. DBA PASHA MEDITERRANEAN         §
GRILL, AHMAD ABDEWAHHAB,             §
THOMAS ADAMS, ELYSSA BARRIENTOS,     §
JACELYN BELL, JASON CHANDLER         §
PEYTON CHANDLER, STEPHANIE           §
CHANDLER, PARTHA SARADHI CHUNCHU, §
SHIRLEY DAVIS, MICHAEL DELGADO,      §
MOHAMMAD EMAMI-MARAND,               §
LETICIA FISCAL, ADRIAN FLORES        §
ARACELY FLORES, DESTINY GARCIA.      §
TERRI GARD, RICHARD GUERRA           §
KOB GUNTHER, JEFFREY HALL,           §
JESSE HARBERT, PAULA HARBERT,        §
KIMBERLY HART, ANNA MARIE            §
HEAVIRLAND, AMANDA HERNANDEZ,        §
ROSALVA HERNANDEZ, SEREMA J.         §
HERNANDEZ, CRISTINA HINOJOSA,        §
MIRANDA HUERTA, CYNTHIA HUGHLETTE, §
JESSICA IRWIN, LEAH JOKINEN, MICHAEL §
KING, CARTER KOWALICK, CLAIRE        §
KOWALICK, AARON KURDI, STEPHANIE     §
KURDI, MARIO LEYVA, NANCY LIMON,     §
RISSA LIMON, JULIE ANN LOPEZ, ALLIE  §
LUTTIN, YECENIA LUTTIN, FRAN MAGRI   §
ADAM MAIZEL, SAMUEL MANAGO           §
KRISTA MARION, SOLEDAD MARQUEZ,      §
CYNTHIA MARSHALL,                    §
WILLIAM MARTIN, ANDREA MARTINEZ,     §
JUANITA MARTINEZ, MEGAN MARTINAI,    §
MELBA MELTON, ASHLEY MEZA,           §
CHRISTOPHER MEZA, JUSTIN MONROE,     §
VIVIAN MONROE, SANDRA MONTELONGO §
STACIE MORALES, MICHELLE NICHOLSON, §
MARTINA NISWONGER, CRYSTAL OLIVER, §
LAJUAN OLIVER, P.C. (MINOR), BRADY   §
PASSANT, DHRU PATEL,                 §
JAYESH PATEL, MUKUNDRAI PATEL,       §
NIMESH PATEL, PARESH PATEL, SANDHIA §
PATEL, SEEMA PATEL, SHEETAL PATEL,   §

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EMMANUEL DIAZ PEREZ, GONZALO PEREZ, §
ZACHARY PIERCE, MANIKANDRAN           §
RAJENDRAN, DAMIEN RAMIREZ, JASON      §
RAMIREZ, JENNIFER RAMIREZ, GRACE      §
RIGGINS, BRYSON RODRIGUEZ, CESAR      §
RODRIGUEZ, VINCENT RODRIGUEZ, JULIE §
RUIZ, SANDEEP SABELLA-REDDY,          §
ROSEMARY SALINAS, KARTHICK SAMPATH, §
CARLOS SANCHEZ, GABI SANCHEZ,         §
LILANDRA SANCHEZ, LONNIE SANCHEZ,     §
LONNIE RIVER SANCHEZ, MARGARET        §
SANCHEZ, SHELBY SAUNDERS, AKARI       §
SCOTT, AVANI SCOTT, JACKITRISE SCOTT, §
VERRICK SCOTT, VINCENT SCOTT,         §
SANKARA SHANMUGAVEL,                  §
AMBER SLADOVNIK,                      §
APRIL SLADOVNIK,                      §
JOSHUA SOTO, EARL NATHAN              §
SPARROW, ADAM STAFFORD, DAVID         §
STALLCUP, ERIC STEITZ, BENJAMIN       §
STEVENS, ONNI STOTTS, JIMMY STOUT,    §
BURHAN SULEIMAN, ASHLEIGH TATARCYK, §
CHRISTINE TAYLOR, LONGANATHAN         §
THIRUMALAI, JUAN TREMILLO, MARIE      §
TROYER, CATHRYN VACCA, ABEL VALDEZ, §
MADISON WEILBACHER, CHERYL WHELAN, §
ROBERT WHELAN, JAMES WHITE, DONALD §
WUEBBEN, CHRISTINE YOUNG              §
AND LORI YOUNG,                       §
                                      §
       DEFENDANTS.                    §


      COMPLAINT FOR DECLARTORY JUDGMENT AND IN INTERPLEADER

       NOW INTO COURT, through undersigned counsel, comes Travelers Casualty Insurance

Company of America (“Travelers”), which submits this Complaint for Declaratory Judgment and

in Interpleader And Other Relief (“Complaint”), as follows:

                                             PARTIES

   1. Plaintiff Travelers Casualty Insurance Company of America is organized and exists under

       the laws of the State of Connecticut with its principal place of business in the State of

       Connecticut. Travelers is duly authorized to do business in the State of Texas.


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2. Defendant Mediterranean Grill & Kabob In DBA Pasha Mediterranean Grill (“Pasha”) is

   organized and exists under the laws of the State of Texas, with its principal business in the

   State of Texas. Pasha may be served through its registered agent, Kamran Jajivandi at 3834

   Fredericksburg Road, San Antonio, TX 78201.

3. Defendant and Claimant, BRADY PASSANT, is an individual and a resident of the state

   of Texas. BRADY PASSANT can be served with process at the following address: 1009

   Evening Dun Street, San Antonio, Texas 78213.

4. Defendant and Claimant, EARL NATHAN SPARROW, is an individual and a resident of

   the state of Texas. EARL NATHAN SPARROW can be served with process at the

   following address: 13018 Heinen #808, San Antonio, Texas 78216.

5. Defendant and Claimant, JENNIFER RAMIREZ, is an individual and a resident of the

   state of Texas. JENNIFER RAMIREZ can be served with process at the following address:

   5210 Swan Garden Road, San Antonio, Texas 78222.

6. Defendant and Claimant, ELYSSA BARRIENTOS, is an individual and resident of the

   state of Texas.   ELYSSA BARRIENTOS can be served with process at the following

   residential address: 8003 Rockwell Vista, San Antonio, Texas 78249.

7. Defendant and Claimant, ADRIAN FLORES, is an individual and resident of the state of

   Texas. ADRIAN FLORES can be served with process at the following address: 8907

   Kenton Mist, San Antonio, Texas 78240.

8. Defendant and Claimant, ARACELY FLORES, is an individual and resident of the state

   of Texas. ARACELY FLORES can be served with process at the following address: 8907

   Kenton Mist, San Antonio, Texas 78240.




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9. Defendant and Claimant, JASON CHANDLER, is an individual and resident of the state

   of Texas. JASON CHANDLER can be served with process at the following residential

   address: 9618 Tioga Drive, San Antonio, Texas 78230.

10. Defendant and Claimant, STEPHANIE CHANDLER, is an individual and resident of the

   state of Texas. STEPHANIE CHANDLER can be served with process at the following

   residential address: 9618 Tioga Drive, San Antonio, Texas 78230.

11. Defendant and Claimant, ADAM MAIZEL, is an individual and a resident of the state of

   Texas. ADAM MAIZEL can be served with process at the following address: 12102

   Mission Trace, San Antonio, Texas 78230.

12. Defendant and Claimant, CESAR RODRIQUEZ, is an individual and a resident of the state

   of Texas. CESAR RODRIQUEZ can be served with process at the following address:

   7419 Magnolia Bluff, San Antonio, Texas 78218.

13. Defendant and Claimant, RICHARD GUERRA, is an individual and a resident of the state

   of Texas. RICHARD GUERRA can be served with process at the following address: 80

   Michael Road, Poteet, Texas 78065.

14. Defendant and Claimant, PAULA HARBERT, on information and belief, is a resident of

   the state of Texas. PAULA HARBERT can be served with process at the following

   address: 11307 Woollcott Street, San Antonio, Texas 78251.

15. Defendant and Claimant, JUANITA MARTINEZ, on information and belief, is a resident

   of the state of Texas. JUANITA MARTINEZ can be served with process at the following

   address: 25302 Ima Ruth Parkway, San Antonio, TX 78257.




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16. Defendant and Claimant, KIMBERLY HART, in a resident of the state of Texas.

   KIMBERLY HART can be served with process at the following address: 8918 Tesoro

   Drive, Suite 200, San Antonio, TX 78217.

17. Defendant and Claimant, JESSE HARBERT, on information and belief, is a resident of the

   state of Texas. JESSE HARBERT can be served with process at the following address:

   11307 Woollcott Street, San Antonio, Texas 78251.

18. Defendant and Claimant, JAYESH PATEL, is an individual and a resident of the state of

   Texas. JAYESH PATEL can be served with process at the following address: 17021 Star

   Canyon Drive, Woodway, Texas 76712.

19. Defendant and Claimant, TERRI GARD, is an individual and a resident of the state of

   Texas. TERRI GARD can be served with process at the following address: 1507

   Edelweiss Drive, Cedar Park, Texas 78613.

20. Defendant and Claimant, MARTINA NISWONGER, is an individual and a resident of the

   state of Florida. MARTINA NISWONGER can be served with process at the following

   address: 6801 Willow Drive, Apartment N103, Orlando, Florida 32821.

21. Defendant and Claimant, JEFFREY HALL, is an individual and a resident of the state of

   Texas. JEFFREY HALL can be served with process at the following address: 13510 Bay

   Orchard, San Antonio, Texas 78231.

22. Defendant and Claimant, SAMUEL MANAGO, is an individual and a resident of the state

   of Texas. SAMUEL MANANGO can be served with process at the following address:

   11810 James Vinson, San Antonio, Texas 78253.




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23. Defendant and Claimant, SANDHIA PATEL, is an individual and a resident of the state of

   Texas. SANDHIA PATEL can be served with process at the following address: 17021

   Star Canyon Drive, Woodway, Texas 76712.

24. Defendant and Claimant, SHIRLEY DAVIS, on information and belief, is an individual

   residing in the state of Texas. SHIRLEY DAVIS can be served with process at the

   following address: 1530 Marbach Oaks, Apartment 10205, San Antonio, Texas 78245.

25. Defendant and Claimant, MUKUNDRAI PATEL, is an individual and a resident of the

   state of Texas. MUKUNDRAI PATEL can be served with process at the following

   address: 3584 Mustang Ridge Lane, Pearland, Texas 77584.

26. Defendant and Claimant, NIMISH PATEL, is an individual and a resident of the state of

   Texas. NIMISH PATEL can be served with process at the following address: 12301 Coral

   Cove Court, Pearland, Texas 77584.

27. Defendant and Claimant, MARIE TROYER, a/k/a THERESE MARTINEZ, is an

   individual and a resident of the state of Texas. MARIE TROYER a/k/a THERESE

   MARTINEZ can be served with process at the following address: 302 Pearl Parkway,

   Apartment 3307, San Antonio, Texas 78215.

28. Defendant and Claimant, JACKITRISE SCOTT, is an individual and a resident of the state

   of Wyoming. JACKITRISE SCOTT can be served with process at the following address:

   5444 Walker Road, Cheyenne, Wyoming 82009.

29. Defendant and Claimant, VINCENT SCOTT, is an individual and a resident of the state of

   Wyoming. VINCENT SCOTT can be served with process at the following address: 5444

   Walker Road, Cheyenne, Wyoming 82009.




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30. Defendant and Claimant, AKARI SCOTT, is an individual and a resident of the state of

   Wyoming. AKARI SCOTT can be served with process at the following address: 5444

   Walker Road, Cheyenne, Wyoming 82009.

31. Defendant and Claimant, ZACHARY PIERCE, is an individual and a resident of the state

   of Texas. ZACHARY PIERCE can be served with process at the following address: 33

   West Elm Circle, San Antonio, Texas 78230.

32. Defendant and Claimant, JIMMY STOUT, is an individual and a resident of the state of

   Texas. JIMMY STOUT can be served with process at the following address: 4002 Belle

   Grove, San Antonio, Texas 78230.

33. Defendant and Claimant, SHEETAL PATAL, is an individual and a resident of the State

   of Texas. SHEETAL PATAL can be served with citation at the following address: 12301

   Coral Cove Court, Pearland, Texas 77584.

34. Defendant and Claimant, FRAN MAGRI, on information and belief, is a resident of the

   state of Texas. FRAN MAGRI can be served with process at the following address: 8802

   Cinnamon Creek Drive, Apartment 503, San Antonio, Texas 78240.

35. Defendant and Claimant, VERRICK SCOTT, is an individual and a resident of the state of

   Wyoming. VERRICK SCOTT can be served with process at the following address: 5444

   Walker Road, Cheyenne, Wyoming 82009.

36. Defendant and Claimant, AVANI SCOTT, is an individual and a resident of the state of

   Wyoming. AVANI SCOTT can be served with process at the following address: 5444

   Walker Road, Cheyenne, Wyoming 82009.




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37. Defendant and Claimant, GABI SANCHEZ, is an individual and a resident of the state of

   Texas. GABI SANCHEZ and can be served with process at the following address: 6079

   Crab Orchard, San Antonio, Texas 78240.

38. Defendant and Claimant, AARON KURDI, is an individual and a resident of the state of

   Texas. AARON KURDI can be served with process at the following address: 9938 Ardash

   Lane, San Antonio, Texas 78212.

39. Defendant and Claimant, STEPHANIE KURDI, is an individual and a resident of the state

   of Texas. STEPHANIE KURDI can be served with process at the following address: 9938

   Ardash Lane, San Antonio, Texas 78212.

40. Defendant and Claimant, GONZALO PEREZ, is an individual and a resident of the state

   of Texas. GONZALO PEREZ can be served with process at the following address: 1303

   McCullough Avenue, Suite 135, San Antonio, Texas 78212.

41. Defendant and Claimant, LETICIA FISCAL, is an individual and resident of the state of

   Texas.   LETICIA FISCAL can be served with process at the following address: 9214

   Bridalwood Lane #4, San Antonio, Texas 78240.

42. Defendant and Claimant, BURHAN SULEIMAN, is an individual and a resident of the

   state of Texas. BURHAN SULEIMAN can be served with process at the following

   address: 7935 Piper Street #3, San Antonio, Texas 78212.

43. Defendant and Claimant, DONALD WUEBBEN, is an individual and a resident of the

   state of Texas. DONALD WUEBBEN can be served with process at the following address:

   15407 Luna Ridge, Helotes, Texas 78023.




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44. Defendant and Claimant, ANNA MARIE HEAVIRLAND, is an individual and a resident

   of the state of Texas. ANNA MARIE HEAVIRLAND can be served with process at the

   following address: 9214 Bridalwood Lane #4, San Antonio, Texas 78240.

45. Defendant and Claimant, ASHLEIGH TATARCYK, is an individual and a resident of the

   state of Texas. ASHLEIGH TATARCYK can be served with process at the following

   address: 8802 Cinnamon Creek Drive #1618, San Antonio, Texas 78240.

46. Defendant and Claimant, MARIO LEYVA, is an individual and a resident of the state of

   Texas. MARIO LEYVA can be served with process at the following address: 130 Trails

   End, San Antonio, Texas 78064.

47. Defendant and Claimant, CATHRYN VACCA, is an individual and a resident of the state

   of Texas. CATHRYN VACCA can be served with process at the following address: 11245

   Sir Winston Street #1306, San Antonio, Texas 78216.

48. Defendant and Claimant, JULIE RUIZ, is an individual and a resident of the state of Texas.

   JULIE RUIZ can be served with process at the following address: 8511 Camberwell Drive,

   San Antonio, Texas 78254.

49. Defendant and Claimant, MEGAN MARTINI, is an individual and a resident of the state

   of Texas. MEGAN MARTINI can be served with process at the following address: 220

   Colfax Street, San Antonio, Texas 78228.

50. Defendant and Claimant, JULIE ANN LOPEZ, is an individual and a resident of the state

   of Texas. JULIE ANN LOPEZ can be served with process at the following address: 283

   Globe Avenue, San Antonio, Texas 78228.




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51. Defendant and Claimant, DAVID STALLCUP, is an individual and a resident of the state

   of Texas. DAVID STALLCUP can be served with process at the following address: 18826

   Canyon View Pass, Helotes, Texas 78023.

52. Defendant and Claimant, GRACE RIGGINS, is an individual and a resident of the state of

   Texas. GRACE RIGGINS can be served with process at the following address: 11103

   Whisper Spring, San Antonio, Texas 78230.

53. Defendant and Claimant, CYNTHIA HUGHLETTE, is an individual and a resident of the

   state of Texas. CYNTHIA HUGHLETTE can be served with process at the following

   address: 523 Summer Road, San Antonio, Texas 78209.

54. Defendant and Claimant, LILANDRA SANCHEZ, is an individual and a resident of the

   state of Texas. LILANDRA SANCHEZ can be served with process at the following

   address: 5827 Bennington Drive, San Antonio, Texas 78228.

55. Defendant and Claimant, YECENIA LUTTIN, is an individual and a resident of the state

   of Texas. YECENIA LUTTIN can be served with process at the following address: 2796

   Stone Trial, Eagle Pass, Texas 78852.

56. Defendant and Claimant, MELBA MELTON, is an individual and a resident of the state

   of Texas. MELBA MELTON can be served with process at the following address: 11138

   Huebner Oak #416, San Antonio, Texas 78230.

57. Defendant and Claimant, LORI YOUNG, is an individual and a resident of the state of

   Texas. LORI YOUNG can be served with process at the following address: 32 Paseo

   Encial Drive, Kerrville, Texas 78028.




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58. Defendant and Claimant, AMBER SLADOVNIK, is an individual and a resident of the

   state of Texas. AMBER SLADOVNIK can be served with process at the following

   address: 3403 Alan Shepherd, San Antonio, Texas 78219.

59. Defendant and Claimant, SHELBY SAUNDERS, is an individual and a resident of the

   state of Texas. SHELBY SAUNDERS can be served with process at the following address:

   509 King Williams Street, San Antonio, Texas 78204.

60. Defendant and Claimant, BENJAMIN STEVENS, is an individual and a resident of the

   state of Texas. BENJAMIN STEVENS can be served with process at the following

   address: 410 East Evergreen Street #3, San Antonio, Texas 78212.

61. Defendant and Claimant, ALLIE LUTTIN, is an individual and a resident of the state of

   Texas. ALLIE LUTTIN can be served with process at the following address: 2796 Stone

   Trail, Eagle Pass, Texas 78852.

62. Defendant and Claimant, JASON RAMIREZ, is an individual and a resident of the state of

   Texas. JASON RAMIREZ can be served with process at the following address: 5210

   Swan Garden Road, San Antonio, Texas 78222.

63. Defendant and Claimant, ROBERT WHELAN, is an individual and a resident of the state

   of Texas. ROBERT WHELAN can be served with process at the following address: 9603

   Mico Street, San Antonio, Texas 78251.

64. Defendant and Claimant, JAMES WHITE, is an individual and a resident of the state of

   Texas. JAMES WHITE can be served with process at the following address: 7638 Paraiso

   Point, Boerne, Texas 78015.




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65. Defendant and Claimant, MADISON WEILBACHER, is an individual and a resident of

   the state of Texas. MADISON WEILBACHER can be served with process at the following

   address: 11555 Wood Harbor, San Antonio, Texas 78249.

66. Defendant and Claimant, VINCENT RODRIGUEZ, is an individual and a resident of the

   state of Texas. VINCENT RODRIGUEZ can be served with process at the following

   address: 6234 Ridge Oak, San Antonio, Texas 78250.

67. Defendant and Claimant, ROSEMARY SALINAS, is an individual and a resident of the

   state of Texas. ROSEMARY SALINAS can be served with process at the following

   address: 1925 Cronus Bend, San Antonio, Texas 78245.

68. Defendant and Claimant, ASHLEY MEZA, is an individual and a resident of the state of

   Texas. ASHLEY MEZA can be served with process at the following address: 8322 While

   Mulberry, San Antonio, Texas 78254.

69. Defendant and Claimant, NANCY LIMON, is an individual and a resident of the state of

   Texas. NANCY LIMON can be served with process at the following address: 9214 Oak

   Downs Drive, San Antonio, Texas 78230.

70. Defendant and Claimant, JESSICA IRWIN, is an individual and a resident of the state of

   Texas. JESSICA IRWIN can be served with process at the following address: 11414 Pro

   Cove, San Antonio, Texas 78221.

71. Defendant and Claimant, EMMANUEL DIAZ PEREZ, is an individual and a resident of

   the state of Texas. EMMANUEL DIAZ PEREZ can be served with process at the

   following address: 9924 Ardash Lane, San Antonio, Texas 78250.




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72. Defendant and Claimant, CLAIRE KOWALICK, is an individual and a resident of the state

   of Texas. CLAIRE KOWALICK can be served with process at the following address: 6A

   Mayfair Terrace, Wichita Falls, Texas 78251.

73. Defendant and Claimant, CHRISTINE YOUNG, is an individual and a resident of the state

   of Texas. CHRISTINE YOUNG can be served with process at the following address: 9207

   Trailing Fern, Helotes, Texas 78023.

74. Defendant and Claimant, ADAM STAFFORD, is an individual and a resident of the state

   of Texas. ADAM STAFFORD can be served with process at the following address: 11200

   Perrin-Beitel Road, Apartment 413, San Antonio, Texas 78217.

75. Defendant and Claimant, ROSALVA HERNANDEZ, is an individual and a resident of the

   state of Texas. ROSALVA HERNANDEZ can be served with process at the following

   address: 8797 Marbach Road #15104, San Antonio, Texas 78227.

76. Defendant and Claimant, BRYSON RODRIGUEZ, is an individual and a resident of the

   state of Texas. BRYSON RODRIGUEZ can be served with process at the following

   address: 23918 Verde River, San Antonio, Texas 78255.

77. Defendant and Claimant, CYNTHIA MARSHALL, is an individual and a resident of the

   state of Texas. CYNTHIA MARSHALL can be served with process at the following

   address: 5526 King Richard Street, San Antonio, Texas 78229.

78. Defendant and Claimant, JUAN TREMILLO, is an individual and a resident of the state of

   Texas. JUAN TREMILLO can be served with process at the following address: 10233

   Mission Creek, Converse, Texas 78109.




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79. Defendant and Claimant, LAJUAN OLIVER, is an individual and a resident of the state of

   Texas. LAJUAN OLIVER can be served with process at the following address: 6018 Old

   Corral, San Antonio, Texas 78250.

80. Defendant and Claimant, CHRISTINE TAYLOR, is an individual and a resident of the

   state of Texas. CHRISTINE TAYLOR can be served with process at the following

   address: 4620 Thousand Oaks Drive #907, San Antonio, Texas 78233.

81. Defendant and Claimant, RISSA LIMON, is an individual and a resident of the state of

   Texas. RISSA LIMON can be served with process at the following address: 9214 Oak

   Downs Drive, San Antonio, Texas 78230.

82. Defendant and Claimant, CRYSTAL OLIVER, is an individual and a resident of the state

   of Texas. CRYSTAL OLIVER can be served with process at the following address: 6018

   Old Corral, San Antonio, Texas 78250.

83. Defendant and Claimant, ERIC STEITZ, is an individual and a resident of the state of

   Texas. ERIC STEITZ can be served with process at the following address: 5760 Hathaway

   Parkway, Apartment 2105, Plano, Texas 75024.

84. Defendant and Claimant, CHRISTOPHER MEZA, is an individual and a resident of the

   state of Texas. CHRISOPHER MEZA can be served with process at the following address:

   8322 While Mulberry, San Antonio, Texas 78254.

85. Defendant and Claimant, CARLOS SANCHEZ, is an individual and a resident of the state

   of Texas. CARLOS SANCHEZ can be served with process at the following address: 5827

   Bennington Drive, San Antonio, Texas 78228.




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86. Defendant and Claimant, MARGARET SANCHEZ, is an individual and a resident of the

   state of Texas. MARGARET SANCHEZ can be served with process at the following

   address: 5827 Bennington Drive, San Antonio, Texas 78228.

87. Defendant and Claimant, SERENA HERNANDEZ, is an individual and a resident of the

   state of Texas. SERENA HERNANDEZ can be served with process at the following

   address: 8797 Marbach Road #15104, San Antonio, Texas 78227.

88. Defendant and Claimant, APRIL SLADOVNIK, is an individual and a resident of the state

   of Texas. APRIL SLADOVNIK can be served with process at the following address: 3403

   Alan Shepherd, San Antonio, Texas 78219.

89. Defendant and Claimant, DAMIEN RAMIREZ, is an individual and a resident of the state

   of Texas. DAMIEN RAMIREZ can be served with process at the following address: 5210

   Swan Garden Road, San Antonio, Texas 78222.

90. Defendant and Claimant, WILLIAM MARTIN, is an individual and a resident of the state

   of Texas. WILLIAM MARTIN can be served with process at the following address: 220

   Deer Creek Drive, Boerne, Texas 78006.

91. Defendant and Claimant, SOLEDAD MARQUEZ, is an individual and a resident of the

   state of Texas. SOLEDAD MARQUEZ can be served with process at the following

   address: 7131 Oaklawn Drive, Apartment 120, San Antonio, Texas 78229.

92. Defendant and Claimant, CARTER KOWALICK, is an individual and a resident of the

   state of Texas. CARTER KOWALICK can be served with process at the following

   address: 6A Mayfair Terrace, Wichita Falls, Texas 78251.




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93. Defendant and Claimant, JOSHUA SOTO, is an individual and a resident of the state of

   Texas. JOSHUA SOTO can be served with process at the following address: 2611 Lake

   Mist, San Antonio, Texas 78222.

94. Defendant and Claimant, CHERYL WHELAN, is an individual and a resident of the state

   of Texas. CHERYL WHELAN can be served with process at the following address: 9603

   Mico Street, San Antonio, Texas 78251.

95. Defendant and Claimant, AMANDA HERNANDEZ, is an individual and a resident of the

   state of Texas. AMANDA HERNANDEZ can be served with process at the following

   address: 1925 Cronus Bend, San Antonio, Texas 78245.

96. Defendant and Claimant, ANDREA MARTINEZ, is an individual and a resident of the

   state of Texas. ANDREA MARTINEZ can be served with process at the following

   address: 4114 Medical Drive, San Antonio, Texas 78229.

97. Defendant and Claimant, JUSTIN MONROE, is an individual and a resident of the state

   of Texas. JUSTIN MONROE can be served with process at the following address: 6155

   Eckwert Road, Apartment 16303, San Antonio, Texas 78240.

98. Defendant and Claimant, VIVIAN MONROE, is an individual and a resident of the state

   of North Carolina. VIVIAN MONROE can be served with process at the following

   address: 2717 Indiana Springs Road, Seven Springs, North Carolina 28578.

99. Defendant and Claimant, MIRANDA HUERTA, is an individual and resident of the state

   of Texas. MIRANDA HUERTA can be served with process at the following address: 4707

   Hollyridge Drive, San Antonio, Texas 78229.




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100. Defendant and Claimant, LEAH JOKINEN, is an individual and a resident of the state of

     Texas. LEAH JOKINEN can be served with process at the following address: 2519

     Thunder Gulch, San Antonio, Texas 78245.

101. Defendant and Claimant, MICHAEL KING, is an individual and a resident of the state of

     Texas. MICHAEL KING can be served with process at the following address: 13026

     Trent Street, San Antonio, Texas 78232.

102. Defendant and Claimant, KRISTA MARION, is an individual and a resident of the state

     of Texas. KRISTA MARION can be served with process at the following address: 12219

     Ridge Cave, San Antonio, Texas 78247.

103. Defendant and Claimant, SANDRA MONTELONGO, is an individual and a resident of

     the state of Texas. SANDRA MONTELONGO can be served with process at the following

     address: 9411 Lantana Drive, San Antonio, Texas 78217.

104. Defendant and Claimant, MANIKANDRAN RAJENDRAN, is an individual and a resident

     of the state of Texas. MAKIKANDRAN RAJENDRAN can be served with process at the

     following address: 4980 USAA Boulevard #536, San Antonio, Texas 78240.

105. Defendant and Claimant, SANDEEP SABELLA-REDDY, is an individual and a resident

     of the state of Texas. SANDEEP SABELLA-REDDY can be served with process at the

     following address: 8801 Cinnamon Creek Drive, Apartment 524, San Antonio, Texas

     78240.

106. Defendant and Claimant, KARTHICK SAMPATH, is an individual and a resident of the

     state of Texas. KARTHICK SAMPATH can be served with process at the following

     address: 4980 USAA Boulevard #426, San Antonio, Texas 78240.




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107. Defendant and Claimant, SANKARA SHANMUGAVEL, is an individual and a resident

     of the state of Texas. SANKARA SHANMUGAVEL can be served with process at the

     following address: 4980 USAA Boulevard #1224, San Antonio, Texas 78240.

108. Defendant and Claimant, MICHELLE NICHOLSON, is an individual and a resident of the

     state of Texas. MICHELLE NICHOLSON can be served with process at the following

     address: 6235 Broadmeadow, San Antonio, Texas 78240.

109. Defendant and Claimant, ONNI STOTTS, is an individual and a resident of the state of

     Texas. ONNI STOTTS can be served with process in the following address; 21420 Forest

     Waters Circle, Garden Ridge, Texas 78266.

110. Defendant and Claimant, LONGANATHAN THIRUMALAI, is an individual and a

     resident of the state of Texas. LONGANATHAN THIRUMALAI can be served with

     process at the following address: 8801 Cinnamon Creek Drive, Apartment 524, San

     Antonio, Texas 78240.

111. Defendant and Claimant, AHMAD ABDEWAHHAB, is an individual and resident of the

     state of Texas. AHMAD ABDEWAHHAD can be served with process at the following

     residential address: 3380 Timber View, Apartment 19202, San Antonio, Texas 78251.

112. Defendant and Claimant, JACELYN BELL, is an individual and resident of the state of

     Texas. JACELYN BELL can be served with process at the following residential address:

     17803 La Cantera Terrace #12115, San Antonio, Texas 78526.

113. Defendant and Claimant, PEYTON CHANDLER, is an individual and resident of the state

     of Texas. PEYTON CHANDLER can be served with process at the following residential

     address: 9618 Tioga Drive, San Antonio, Texas 78230.




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114. Defendant and Claimant, PARTHA SARADHI CHUNCHU, is an individual and resident

     of the state of Texas. PARTHA SARADHI CHUNCHU can be served with process at the

     following address: 4980 USAA Boulevard #426, San Antonio, Texas 78240.

115. Defendant and Claimant, DESTINY GARCIA, is an individual and resident of the state of

     Texas. DESTINY GARCIA may be served with process at the following address: 514

     Dawnridge Drive, San Antonio, Texas 78213.

116. Defendant and Claimant, CRISTINA HINOJOSA, is an individual and a resident of the

     state of Texas. CHRISTINA HINOJOSA can be served with process at the following

     address: 8719 Dore Oak Lane, San Antonio, Texas 78254.

117. Defendant and Claimant, ABEL VALDEZ, is an individual and a resident of the state of

     Texas. ABEL VALDEZ can be served with process at the following address: 8003

     Calmwater Cove, San Antonio, Texas 78254.

118. Defendant and Claimant, LONNIE RIVER SANCHEZ, is an individual and a resident of

     the state of Texas. LONNIE RIVER SANCHEZ can be served with process at the

     following address: 6079 Crab Orchard, San Antonio, Texas 78240.

119. Defendant and Claimant, LONNIE SANCHEZ, is an individual and a resident of the state

     of Texas. LONNIE SANCHEZ can be served with process at the following address: 6079

     Crab Orchard, San Antonio, Texas 78240.

120. Defendant and Claimant, STACIE MORALES, is an individual and a resident of the state

     of Texas. STACIE MORALES can be served with process at the following address: 3809

     Lomita, San Antonio, Texas 78230.




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121. Defendant and Claimant, MICHAEL DELGADO, is an individual and a resident of the

     state of Texas. MICHAEL DELGADO can be served with process at the following

     address: 7758 Crooked Road St Apt R, San Antonio, Texas 78254.

122. Defendant and Claimant, MOHAMMAD EMAMI-MARAND, is an individual and a

     resident of the state of Texas. MOHAMMAN EMAMI-MARAND can be served with

     process at the following address: 11739 Millsway Drive, San Antonio, Texas 78253.

123. Defendant and Claimant, DHRU PATEL, is an individual and a resident of the state of

     Texas. DHRU PATEL can be served with process at the following address: 118 North

     Expy #77, Raymondville, TX 78580.

124. Defendant and Claimant, PARESH PATEL, is an individual and a resident of the state of

     Texas. PARESH PATEL can be served with process at the following address: 18107

     Resort VW, San Antonio, Texas 78255.

125. Defendant and Claimant, SEEMA PATEL, is an individual and a resident of the state of

     Texas. SEEMA PATEL can be served with process at the following address: 19231

     Brannan BLF, San Antonio, Texas 78253.


                                            II.
                              JURISDICTION AND VENUE

 126.       The Court has jurisdiction over the Declaratory Judgment cause of action

     pursuant to 28 U.S.C. § 1332 because complete diversity of citizenship exists between

     Plaintiff and each Defendant, and the amount in controversy in connection with the

     claims made subject of this Complaint exceeds $75,000. This is an action for declaratory

     judgment pursuant to 28 U.S.C. §§ 2201-2202, and Federal Rule of Civil Procedure 57.

     An actual and substantial controversy exists among the parties.


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127.       Venue is proper in this federal district for the Declaratory Judgment cause of action

   pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to

   the claim occurred in this district.

128.       This Court has jurisdiction over the Interpleader cause of action under 28 U.S.C. §

   1335 because two or more of the Claimants are adverse and of diverse citizenship, as

   defined by 28 U.S.C. § 1332(a) and claim to be entitled to money valued at $500.00 or

   more which is in the possession of Plaintiff. In Compliance with F.R.C.P. 67, and the

   Standing Order of this Court, Plaintiff contemporaneously files a Motion for Leave to

   Deposit the Interpleader Funds in the Court Registry.

129.       Venue is also proper in this federal district for the Interpleader cause of action

   pursuant to 28 U.S.C. § 1397, because one or more of the Claimants resides in this judicial

   district.



                                           III.
                                          FACTS

130.       The 123 Claimants contend that they became ill and suffered injuries upon

   consuming food allegedly contaminated with Salmonella that was purchased from Pasha

   between August 30, 2018 and September 1, 2018 (“Allegedly Contaminated Food”).

131.       Upon information and belief, Pasha employees manufactured the Allegedly

   Contaminated Food at the Pasha restaurant located at 17425 Redland Road, San Antonio,

   Texas 78247, and served it to patrons for consumption on Pasha’s premises.

                                            V.
                                          POLICY




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132.      Travelers issued Commercial General Liability Policy No. 680-9E389380-18-42

   (the “Policy”) with a policy period of August 20, 2018 to August 20, 2019 to Pasha.

133.      The Policy provides in pertinent part:

   SECTION I – COVERAGES
   COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY
   1. INSURING AGREEMENT
   A. WE WILL PAY THOSE SUMS THAT THE INSURED BECOMES LEGALLY OBLIGATED TO
   PAY AS DAMAGES BECAUSE OF “BODILY INJURY” OR “PROPERTY DAMAGE” TO WHICH
   THIS INSURANCE APPLIES. WE WILL HAVE THE RIGHT AND DUTY TO DEFEND THE
   INSURED AGAINST ANY “SUIT” SEEKING THOSE DAMAGES. HOWEVER, WE WILL HAVE
   NO DUTY TO DEFEND THE INSURED AGAINST ANY “SUIT” SEEKING DAMAGES FOR
   “BODILY INJURY” OR “PROPERTY DAMAGE” TO WHICH THIS INSURANCE DOES NOT
   APPLY. WE MAY AT OUR DISCRETION, INVESTIGATE ANY “OCCURRENCE” AND SETTLE
   ANY CLAIM OR “SUIT” THAT MAY RESULT. BUT:

          (1) THE AMOUNT WE WILL PAY FOR DAMAGES IS LIMITED AS DESCRIBED IN
          SECTION III – LIMITS OF INSURANCE;

          ***
          (B)  THIS INSURANCE APPLIES TO “BODILY INJURY” AND “PROPERTY
   DAMAGE ONLY IF:
        (1) THE “BODILY INJURY” OR “PROPERTY DAMAGE” IS CAUSED BY AN
            “OCCURRENCE” …

   SECTION III LIMITS OF INSURANCE
   1. THE LIMITS OF INSURANCE SHOWN IN THE DECLARATIONS AND THE RULES BELOW
   FIX THE MOST WE WILL PAY REGARDLESS OF THE NUMBER OF:
          A. INSUREDS;
          B. CLAIMS MADE OR “SUITS” BROUGHT; OR
          C. PERSONS OR ORGANIZATIONS MAKING CLAIMS OR BRINGING “SUITS”.
   2. THE GENERAL AGGREGATE LIMIT IS THE MOST BE WILL PAY FOR THE SUM OF:
                 A. MEDICAL EXPENSES UNDER COVERAGE C;
                 B. DAMAGES UNDER COVERAGE A, EXCEPT DAMAGES BECAUSE OF
                 “BODILY INJURY” OR “PROPERTY-DAMAGE” INCLUDED IN THE
                 “PRODUCTS-COMPLETED OPERATIONS HAZARD”; AND
                 C. DAMAGES UNDER COVERAGE B.
   3. THE PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT IS THE MOST WE
   WILL PAY UNDER COVERAGE A FOR DAMAGES BECAUSE OF “BODILY INJURY” AND
   “PROPERTY DAMAGE” INCLUDED IN THE “PRODUCTS-COMPLETED OPERATIONS
   HAZARD”.
   ***




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       5.1 SUBJECT TO 2. OR 3. ABOVE, WHICHEVER APPLIES, THE EACH OCCURRENCE LIMIT
       IS THE MOST WE WILL PAY FOR THE SUM OF:
               A. DAMAGES UNDER COVERAGE A; AND
               B. MEDICAL EXPENSES UNDER COVERAGE C
               BECAUSE OF ALL “BODILY INJURY” AND “PROPERTY DAMAGE” ARISING OUT
               OF ANY ONE “OCCURRENCE”.

    134.       The Policy has a $1,000,000 Each Occurrence Limit.

    135.       “Occurrence” is defined in the Policy as “an accident, including continuous or

       repeated exposure to the same general harmful conditions.”

                                                   VI.

               FIRST CAUSE OF ACTION FOR DECLARATORY JUDGMENT

    136.       Paragraphs 1 through 135 of this Complaint are incorporated herein by reference.

    137.       Manufacture of the Allegedly Contaminated Food was the single proximate,

       uninterrupted, and continuing cause of all the damages alleged sustained by the Claimants

       and therefore constitutes a single “occurrence” as defined by the Policy.

    138.       Travelers is entitled to a declaration that manufacture of the Allegedly

       Contaminated Food which resulted in all the injuries and damage of which the Claimants

       now or in the future may allege constitutes a single “occurrence”. As a result, Travelers’

       limit of liability for all the claims asserted or may be asserted against Pasha associated with

       its manufacture of the Allegedly Contaminated Food is $1,000,000.

                                                 VII.

                   SECOND CAUSE OF ACTION FOR INTERPLEADER

    139.       Paragraphs 1 through 138 of this Complaint are incorporated herein by reference.




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 As amended by Endorsement CG D2 03 12 97 Amendment – Non Cumulation of Each Occurrence Limit of
Liability and Non Cumulation of Personal and Advertising Injury Limit

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140.       Travelers has to date made payments totaling $466,472.25 for claims associated

   with the Allegedly Contaminated Food leaving $533,527.75 in remaining available limits

   under the Policy (the “Remaining Proceeds”).

141.       There is a genuine dispute among the Claimants as to who should receive what

   portion of the Remaining Proceeds.

142.       Thirty-seven of the 123 Claimants have already filed suit against Pasha for damages

   associated with the Allegedly Contaminated Food. The lawsuits are:

        a. Jeffrey Hall v. Pasha Mediterranean Grill, LLC, Cause No. 2018CI177000,

           pending in the 255th Judicial District of Bexar County, Texas.

        b. Paul Harbert, Jesse J. Harbert, Jayesh Patel, Sandhia Patel, Terri Gard, Jimmy L.

           Stout, Shirley Davis, Mukundrai Patel, Nimish Patel, Sheetal Patel, Paresh Patel,

           Seema Patel, Paresh Patel Individually and as parent and next friend of D.P., a

           minor child. Marie Therese Troyer, Mohammad Emami-Marand, Jackitrise Scott,

           Vincent Scott, Jackitrise Scott Individually and as parent and next friend of A.S., a

           minor child, Jackitrise Scott Individually and as parent and next friend of A.S., a

           minor child, Jackitrise Scott Individually and as parent and next friend of V.S., a

           minor child v. Pasha Mediterranean Grill, LLC, Mediterranean Grill & Kabob,

           Inc. dba Pasha Mediterranean Grill, Cause No. 2018CI17696, pending in the 131st

           Judicial District of Bexar County, Texas.

        c. Samuel Manago v. Pasha Mediterranean Grill, LLC, Cause No. 2018CI17291

           pending in the 438th Judicial District of Bexar County, Texas.

        d. Brady Passant v. Pasha Mediterranean Grill, LLC, Cause No. 2018CI17174,

           pending in the 288th Judicial District of Bexar County, Texas.



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           e. Zachary Pierce and Lillian Garza v. Pasha Mediterranean Grill, LLC, and

              Mediterranean Grill & Kabob, Inc., Ca use No. 2018CI19077, pending in the 131st

              Judicial District of Bexar County, Texas.

           f. Robert Torres v. Pasha Mediterranean Grill, LLC., Cause No. 2018CI23633,

              pending in the 438th Judicial District of Bexar County, Texas.

   143.       The interests of the Claimants in the Remaining Proceeds subject to this

      Interpleader are adverse to one another because there is a dispute as to who is entitled to

      what portion of the Remaining Proceeds.

   144.       Travelers is ready, willing, and able to pay the Remaining Proceeds. Travelers will

      deposit the Remaining Proceeds into the registry of the Court in connection with the filing

      of this Complaint, as soon as the Court grants its Motion for Leave to Deposit the

      Interpleader Funds in the Court Registry

   145.       Once the Motion for Leave to Deposit the Interpleader Funds is granted and the

      proceeds are deposited, Travelers will no longer have any interest in the Remaining

      Proceeds. Travelers brings this Complaint of its own free will and to avoid being vexed

      and harassed by conflicting and multiple claims.

   146.       Travelers requests that this Court determine to whom said Remaining Proceeds

      shall be paid.

WHEREFORE, Travelers prays that the Court:

   a) enter a declaratory judgment finding that pursuant to the terms and conditions of the Policy,

      that any injuries or damages sustained by the Claimants associated with Pasha’s

      manufacture of the Allegedly Contaminated Food constitutes a single “occurrence”;




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b) enter a declaratory judgment finding that Travelers’ applicable limit of liability for any and

   all claims associated with the Allegedly Contaminated Food is $1,000,000 less the

   $466,472.00 already paid to resolve certain of the claims stemming from the Allegedly

   Contaminated Food;

c) require the Defendants to answer this Complaint and to litigate their claims among

   themselves for the Remaining Proceeds;

d) enjoin the Defendants from instituting or prosecuting any proceeding in any state or United

   States court affecting the Policy and/or the Remaining Proceeds including the lawsuits

   listed herein; and

e) awarding Travelers any other further relief as justice and equity of the cause may require

   and permit.




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                                Respectfully Submitted:
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                                TRAVELERS CASUALTY INSURANCE
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